Case 1:01-cv-12257-PBS Document 6639-35 Filed 11/03/09 Page 1 of 8

EXHIBIT HH
Case 1:01-cv-12257-PBS Document 6639-35 Filed 11/03/09 Page 2 of 8

Mitorneys and Counselors al Law
900 FanSmust Building
111 Brickell Sdvenwe
Miami, Horida 3343-4

(305) 577-0044 Fax (305) 577-8545

December 9, 1999

VIA HAND DELIVERY CERTIFI I ETURN
RECEIPT REQUESTED

Thomas E. Scott, Esquire The Honorable Janet Reno

United States Attorney Attorney General

Southern District of Florida U.S. Department of Justice

99 N.E. 4th Street 10th St. & Constitution Avenue

Miami, Florida 33132 Washington, D.C. 20530

RE: Filing of Third Amended Complaint under existing modified sealing
orders, which includes additional Defendants and drops two (2)
Defendants in Unit ates of America, Ex. |, Ven-A-Care of the

Florida Keys. Inc. v. ABBOTT LABORATORIES, et al,
CIVIL ACTION NO.95-1354-CIV-GOLD

Dear Ms. Reno and Mr. Scott:

This law firm represents Ven-A-Care of the Florida Keys, Inc., a Florida corporation,
as the Relator in the above-referenced "qui tam" action brought pursuant to 31 U.S.C.
§§3729 and 3730, the original complaint having been filed on June 23, 1995.

This letter and its enclosures are being served upon you pursuant to the
requirements of 31 U.S.C. §3730(b)(2) immediately prior to the filing of the Third Amended
Complaint in camera and under existing modified sealing orders with the Clerk, United
States District Court, Southern District of Florida.

Enclosed you will find a copy of the Relator's Third Amended Complaint together
with Motion for Leave to File Third Amended Complaint and for an Agreed Order Sealing
Third Amended Complaint and all other Documents of the Case. You have been
previously provided with substantially all material evidence and information possessed by
the Relator.
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The Honorable Janet Reno
Thomas E. Scott, Esquire
December 9, 1999

Page 2

In the event that you require any further assistance in your review of the Third
Amended Complaint from the Relator or this law firm please contact either of the
undersigned at any time.

For the Firm

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NS ames J. Breen

For the Firm

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Enclosures
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Wnplor. Buchanan te Breen

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